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                                                     UNITED STATES DISTRICT COURT
                                                                                     for the
                                                          EASTERN DISTRICT OF OKLAHOMA

                  UNITED STATES OF AMERICA,                                              )
                                                                                         )        Case No.: CR-23-140-RAW
                                                                    Plaintiff,           )
                                            v.                                           )               Date: 10/05/2023
                                                                                         )
                    AMANDA LYNN HOWERTON                                                 )              Time: 3:00 pm – 3:12 pm
                                      Defendant.                                         )

                                        MINUTE SHEET – VIDEO CONFERENCE ARRAIGNMENT

U.S. Magistrate Judge, Jason A. Robertson                             Joe Church, Deputy Clerk                    FTR Courtroom: 3 - Room 432


Counsel for Plaintiff:                  Morgan Muzljakovich, AUSA (via video)

Counsel for Defendant                   Ryhder Jolliff, AFPD (via video)

☒ Defendant gives consent to proceed by video conference


MINUTES

Said Cause came on for Video Conference Arraignment on 10/5/2023. Due to technical difficulties,
Arraignment/Detention Hearing is reset for 10/10/2023 at 10:00 AM in person in Courtroom 3. Defendant to remain in
custody pending Arraignment/Detention Hearing.




☒ The sound recording for this hearing has been reviewed for completeness and correctness. The recording is a true and accurate record of these proceedings: JC
